Howard A. Belodoff, ISB # 2290
Idaho Legal Aid Services, Inc.
1447 S. Tyrell Lane
Boise, ID 83706
Tel: (208) 807-2496 Fax: (208) 342-2561
howardbelodoff@idaholegalaid.org

Jane Gordon, ISB # 9243
Jane Gordon Law
1004 West Fort Street
Boise ID 83702
Tel: (208) 371-4747; Fax: (208) 807-2290
Jane@JaneGordonLaw.com

Attorneys for Plaintiffs

                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF IDAHO

 MH, TB, KB, SG, AC, BM, individually, and
 G Doe, by and through her parents and next             CASE NO. 1:22-CV-409-REP
 friends, JANE Doe and JOHN Doe,
                                                        DECLARATION OF KB IN SUPPORT
        Plaintiffs,                                     OF MOTION FOR A TEMPORARY
                                                        RESTRAINING ORDER AND A
        vs.                                             PERMANTENT INJUNCTION

 ALEX ADAMS, in his official capacity as the
 Director of the Idaho Department of Health
 and Welfare; Dr. MAGNI HAMSO, in her
 official capacity as the Medical Director of the
 Idaho Division of Medicaid and individually;
 and the IDAHO DEPARTMENT OF
 HEALTH AND WELFARE,

        Defendants.


       KB, declares, under penalty of perjury, and on my personal knowledge:

       1.      I am over the age of 18 and I am a Plaintiff in the above-captioned matter.

       2.      I am enrolled in Idaho Medicaid.

       3.      I have been diagnosed with gender dysphoria.
DECLARATION OF KB IN SUPPORT OF MOTION FOR A TEMPORARY RESTRAINING
ORDER AND A PERMANTENT INJUNCTION - 1

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        4.      My entire life, I never felt like a girl. I have always presented very masculine.

        5.      I started seeing a gender therapist in early 2020, I then began to socially transition

and using they/them pronouns in the spring of 2020.

        6.      I have undergone hormone therapy by way of testosterone injections and had a

mastectomy (also known as top surgery) to align my physical characteristics with my gender

identity and to treat and alleviate the distress caused by my gender dysphoria

        7.      I started taking testosterone shots in June 2021, under the guidance of Dr. Mavin

Alviso at Full Circle Health.

        8.      I underwent top surgery in April 26, 2023 with Linsey Etherington, MD at Saint

Alphonsus in Boise. I first consulted with Dr. Etherington in January 2023.

        9.      To be eligible for top surgery, I required a referral from a mental health

professional and a referral from a treating provider verifying that I had been on hormone therapy

for at least a year and was a good candidate for the surgery.

        10.     I became aware that Medicaid would not continue to provide coverage or

reimbursement for gender affirming surgery. The cost for top surgery was $20,151.60. I was able

to hold a fundraiser and a drag show to raise the funds necessary to pay for the surgery.

        11.     I have to continue to receive gender affirming medical treatment and testosterone

to maintain my masculine appearance. When I had a delay in my prescription being filled, it

caused instability in my mental wellbeing. Without the medications my anxiety increases and I

start feeling depressed. It particularly makes me feel lethargic, have a low appetite, and feel

really “off.”

        12.     I have not had a delay in my hormone treatment long enough to cause my body to

start a reversion, but I do know that would happen if I am unable to access my testosterone



DECLARATION OF KB IN SUPPORT OF MOTION FOR A TEMPORARY RESTRAINING
ORDER AND A PERMANTENT INJUNCTION - 2

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treatments. My understanding is that if I stopped taking testosterone, my menstrual cycle would

come back within a month and my fat distribution would change to more feminine

characteristics.

        13.        The thought of that causes me tremendous anxiety and fear, which manifests itself

as stomach aches, adrenaline surges, headaches, loss of sleep, and panicky feelings. It would be

very destabilizing to my mental health and my daily wellbeing if I could not continue to receive

the hormone treatments prescribe by my physician.

DATED: September 26, 2024



                                                       /s/
                                                       Plaintiff KB




DECLARATION OF KB IN SUPPORT OF MOTION FOR A TEMPORARY RESTRAINING
ORDER AND A PERMANTENT INJUNCTION - 3

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